Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 1 of 29 PageID# 8942


                                                                                                     FILED
                                    UNITED    STATES        DISTRICT         COURT
                                    EASTERN DISTRICT           OF   VIRGINIA
                                             Norfolk Division                                       AUG - 8 2011

  THE     FOX GROUP,         INC.,                                                           CLERK. U.S DISTRICT COURT
                                                                                                     NO'-;ro: ?. va

                        Plaintiff,


           v.                                                                       ACTION NO.        2:10cv314


  CREE,     INC.,


                        Defendant.




                                      OPINION AND           FINAL       ORDER


           This    matter          comes    before     the    court      on    Cree,        Inc.'s       ("Cree")


  Motion for Summary Judgment of non-infringement of U.S. Patent Number


  6,562,13 0       ("the '130 patent") and U.S. Patent Number 6, 534,026                                      ("the


   x026    patent")          and    invalidity of           the   '130       patent         ("Cree's      Summary


  Judgment Motion").                 For the reasons set forth below,                         Cree's Summary


  Judgment        Motion is GRANTED               in part,        and DENIED,          in part,          as MOOT.


                                             I.        Background1

           This case involves Cree's alleged infringement of the                                         v13 0 and


   '026    patents,          which are       owned by The           Fox Group,          Inc.        ("Fox")      and


  relate to growth of low defect silicon carbide                                    (SiC)    through "seeded




  1        Much of the relevant background recited herein is also set forth
  in    the     court's      June     10,    2011,     claim construction Opinion,                        The     Fox
  Group,        Inc.    v.   Cree,     Inc.,      --   F.   Supp.       2d    --,    2011 WL        2308694,          at
   *l-2    (E.D.       Va.   2011),    and in the court's July 20,                          2011,    Memorandum
  Opinion and Order.                 The Fox Group,            Inc.     v.    Cree,     Inc.,       --   F.   Supp.
  2d --,        2011 WL 2963580,            at    *1   (E.D.      Va.    2011).
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 2 of 29 PageID# 8943



  sublimation."2               Sic crystal           is a semiconductor material grown via

  man-made        methods          and        used    in     high-temperature          and    high-power


  electronics such as                   light sources,         power diodes,          and photodiodes.

  To     be    viable     as       a    semi-conductor,         Sic        material    must    contain     a


  relatively low level                   of   defects.


          Fox filed suit against Cree on June 29,                           2010, seeking injunctive


  relief against alleged patent infringement,                                as well as compensatory


  damages.3        Fox alleges that "Cree has been making,                             using,       selling,

  and/or offering for sale silicon carbide substrates and products that


  use silicon carbide that practice the invention of the                                      '026 patent


   [and the l130 patent] , and thus, infringe one or more claims of [those


  patents.]"           Compl. UH 21 and 34' ECF No- 1-                        Fox also alleges that

  Cree will continue to infringe those patents unless enjoined by the

  court.         Id.    flu   22       and   35.     On August       30,    2010,   Cree     answered the


   Complaint and filed counterclaims against Fox seeking declarations


   2          Seeded sublimation involves the growth of "single crystal SiC
   ...        in crucibles under high heat.                     Specifically,          a   'seed'    crystal
   of SiC is inserted into a crucible along with SiC                                  vsource'      material
   -- typically SiC powder.                        Heat is applied to the crucible,                  causing
   the SiC source material to sublime --                         turn from solid to gas -- and
   then condense on the seed, thereby growing a single crystal SiC
   material that can be processed into semiconductors for electronic
   devices."           Fox Group,            2011    WL   2308694,    at    *1.


   3          Fox originally brought suit against Cree and Dow Corning Corp.
   On October 25,             2010,      the action against Dow Corning was transferred
   to    the district court                  for the       Southern District of New York.  See
   The    Fox Group,          Inc.      v.    Cree,       Inc., 749 F. Supp. 2d 410, 417 (E.D.
   Va.    2010).
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 3 of 29 PageID# 8944



  that the claims of the                    '026 and x130 patents are           (1)    not infringed,


   (2)   invalid, and (3) unenforceable.                       See Answer HH 126-135, ECF No.

  12.


              On April 11,          2011,    Cree filed its Summary Judgment Motion.                    On


  April        25,    2011,    Fox responded in opposition,                 and,      on May 2,     2011,


  Cree        replied.             On    June    10,   2011,    the   court     issued        its   claim


  construction Opinion,                   in which it construed four            (4)    disputed terms


  and phrases from the                    '130 patent and seven          (7)   disputed terms and


  phrases from the '026 patent.                        See The Fox Group,       Inc. v. Cree,        Inc.,


   --    F.    Supp.    2d    --,       2011 WL 2308694,       at   *6-23    (E.D.     Va.   2011).     In


  light of the court's claim construction, on June 28,                                2011, Fox filed


  a Motion for Entry of Partial Summary Judgment of Non-Infringement


  of     the     '026    patent,          and    Dismissal     Without      Prejudice        of    Related


  Counterclaims               ("Fox's       Summary Judgment Motion").


              On July 8,       2011,        the court issued an order removing the trial


  date         from     the        calendar      pending    resolution         of     Fox    and    Cree's


   respective summary judgment motions.                          The court also granted Cree's


   July 6,      2011, motion seeking leave to file a supplemental memorandum


   in further support of its Summary Judgment Motion,                               and directed that


   Fox may           submit    a    supplemental        opposition brief        and     that      Cree may


   submit a supplemental reply brief.                          On July 13,     2011,    Fox responded


   in opposition              to    Cree's      supplemental memorandum,            and,     on July   18,
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 4 of 29 PageID# 8945



  2011,       Cree     filed its      supplemental reply.                 Cree's      Summary Judgment


  Motion is          fully briefed and ripe                for review.


          On     July    20,    2011,       the    court    granted       Fox's       Summary        Judgment


  Motion,       and,     accordingly,            entered judgment of non-infringement of


  the     '026 patent for Cree and dismissed Cree's counterclaims related


  to the       '026 patent.           The Fox Group,         Inc.    v.    Cree,      Inc. ,    --   F.    Supp.


  2d    --,     2011    WL     2963580,       at    *3    (E.D.    Va.    2011).           Cree's     Summary


  Judgment Motion is,                therefore,       DENIED,      as MOOT,         insofar as it seeks


  judgment of non-infringement of the                         '026 patent.            Accordingly,           the


  only issue before the court is whether there is a genuine issue of


  material fact concerning invalidity and non-infringement of the '130


  patent.


                                     II.      The Asserted Claims4

           Fox    alleges       that    Cree       infringes       claims      l    and    19   of   the    '13 0


  patent.5        Claim 1 asserts:




   4       The court only addresses the claims of the '130 patent, as the
   '026 patent is no longer a subject of this litigation.                                   See Fox Group,
   2011    WL    2963580,       at   *3.


   5       The parties disputed the construction of terms and phrases that
   are also found in claims                  7    and 13,    see    Fox Group,         2011 WL 2308694,
   at *2 and *6,         but Fox has never indicated that Cree infringes those
   claims.        Rather,       Fox avers          that   Cree's products            contain a density
   of dislocations below 10,000,                     the dislocation threshold found only
   in claims         1 and 19.         See,       e.g.,    Compl.    t    38       (referencing a chart
   "depicting          that    Cree    is    infringing       at    least          claim    1   of   the    '130
   patent") ;        Fox's Supplemental Br.               in Opp.    to Mot.        for Summ. J.          2 n.2,
   ECF No.       522    (claiming that Fox's expert's                     "opinions establish that
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 5 of 29 PageID# 8946



          A silicon carbide material comprising an axial region of
          re-crystallized          single       crystal          silicon             carbide         with    a
          density     of     dislocations        of        less       than           104   per        square
          centimeter,        a density of micropipes                       of   less       than       10   per
          square     centimeter,         and     a    density              of   secondary              phase
          inclusions        of   less   than 10 per cubic                   centimeter.


  See     l130     patent    col.8      11.6-11,           Ex.    I        to   Compl.,              ECF   No.       1-9


   [hereinafter       ni130      patent"].       Claim           19   requires             "silicon carbide

  material" having the same density of dislocations,                                        the same density


  of micropipes,           and the same density of                    secondary phase inclusions


  as required by claim 1.               Unlike claim 1, however,                           claim 19 requires


  a "silicon carbide seed crystal,"                        id.   col.9          1.38,      and "a region of


  axially re-crystallized silicon carbide                              .    .    .    initiating at               [the]

  growth surface of              ...    [the]    seed crystal."                      Id.   cols. 9 1.41 - 10

   1.1.      The    differences         in   claim         19    as    compared             to       claim       1   are


  underscored below for ease of                  comparison:

           19.   A silicon carbide material,                     comprising:


           A single crystal silicon carbide seed crystal, said single
           crystal    silicon       carbide          seed       crystal         having           a    growth
           surface;    and


           A region of axially re-crystallized silicon carbide, said
           region   of  axially   re-crystallized  silicon   carbide
           initiating at said growth surface of said single crystal
           silicon    carbide       seed     crystal,            said       region          of       axially
           re-crystallized          silicon          carbide          having           a    density          of



   the    surface of       an axial region of              each category of                  Cree's as-grown
   wafers . . . has a density of dislocations of less than 104 per cm2") ;
   id.    at 5-6,    14;    see also id.        at    11    ("The issue of                  infringement has
   narrowed to the density of dislocations                             limitation.").
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 6 of 29 PageID# 8947



          dislocation             of       less      than    104    per       square    centimeter,        a
          density        of       raicropipes           of        less        than     10    per   square
          centimeter,             and a density of                 secondary phase             inclusions
          of    less    than 10            per cubic         centimeter.


  Id.    cols.9    1.37       -    10      1.6    (emphasis added).


                                           III.      Claim Construction


          On June 10, 2011, the court construed the v130 patent's disputed


  terms    and phrases             as      follows:


          (1)     "Axial region of re-crystallized single crystal silicon
                  carbide"             /    "region         of    axially       re-crystallized            silicon
                  carbide" means "portion of a silicon carbide crystal that
                  is grown in a direction substantially perpendicular to the
                  seed crystal plane by heating solid silicon carbide to form
                  a vapor that then condenses onto the                                      seed crystal."

          (2)     "Density of dislocations"                             means    "concentration of those
                  defects in which lines of atoms in a crystal structure are
                  displaced,                including            screw,         edge,        and   basal       plane
                  dislocations."

          (3)     "Density                 of     micropipes"                 means     "concentration            of
                  micropipes."6
          (4)     "Density                 of        secondary            phase         inclusions"            means
                  "concentration of polytypes different                                      than the polytype
                  of      the              silicon          carbide           crystal        material       and/or
                  precipitates                  of   material           such    as    silicon,     carbon,       and
                  tantalum or niobium,                       and their compounds."


   Fox    Group,        2011       WL       2308694,         at        *22.      In     reaching     the       above


   constructions,         the court made three findings relevant to the issue


   of invalidity.             First, the court rejected Cree's position that there


   6      "The     parties             agreed         that       the    term     'micropipes'        should       be
   construed       as    'screw             dislocations           with        empty    cores,     also     called
   microtubes,         micropores,               or pores.'"            Fox Group,          2011 WL 2308694,      at
   *10   (citations       omitted).
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 7 of 29 PageID# 8948



  can be only one axial region in the Sic material grown via the method


  and    apparatus   described         in   the     *13O       patent.        See     id.    at    *7-8.


  Instead,     the court agreed with Fox that the                     '130 patent "claims one


  or more axial regions in the Sic material that meet the claimed defect


  densities,     while allowing for other axial regions in that same Sic


  material that do not meet those same claimed defect densities."                                    Id.


  at    *8.    Second,     the   court      found       that    "the    clear    and        consistent


  description of the invention is a method directed toward growth of


  low defect Sic,"       id. ,   through seeded sublimation.                    See id.       at *l-2.


          Finally,   the    court      rejected     reading       the    claims        to   require    a


  particular technique for quantifying the defects in an axial region


  of    re-crystallized        single    crystal         Sic.     "Fox       argue[d]       that    only


   those defects intersecting the surface of an axial region should be


  counted toward the defect thresholds specified in the claims,"                                     id.


  at    *9,    whereas   Cree     advocated         a    method        that    measures        defects


   intersecting an axial region's surface,                      as well as defects entirely


  beneath the surface.            The court expressed no opinion regarding the


  propriety of any counting method,                  let alone those forwarded by the


  parties. 7       Rather,       the   court      found        that    the     *130    patent       only




   1      This point was evidently lost on the parties.                         Cree insists that
   the court's claim construction "unequivocally requires the inclusion
   of   both   surface   and     non-surface        dislocations          for    the    purposes      of
   determining the       claimed dislocation density,"                    Cree's       Supplemental
  Br. in Supp. of Mot.         for Summ. J. 11, ECF No. 423, whereas Fox insists
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 8 of 29 PageID# 8949



  indicates       that    an    axial   region         must    meet           the           claimed      defect


  densities, and so "the proper measurement technique .                                      .   . is a matter


  to be resolved by the trier of                 fact."       Id.    at *10 n.20;                    see id.       at


  *9     ("The   only permissible       inference         is   that          .     .    .    the     patent        is


  concerned with the extent to which defects are present in an axial


  region.").       In other words,          it    is   an open question whether a SiC


  material       containing      an   axial      region    with          a   dislocation                density


  throughout       its    entire      volume      that     exceeds                the        %13 0    patent's


  dislocation density thresholds can nonetheless infringe that patent.


  See id. at *9 (" [E] ven if a one cubic centimeter axial region contains


  10s dislocations below its surface,                   it can still satisfy claim l's

  104     per    square    centimeter         limitation            [under              Fox's        preferred

  measurement       technique].").            Similarly,            it       is        an    open      question


  whether a SiC material containing an axial region with a dislocation


  density on its surface that is within the x130 patent's dislocation

  density thresholds           can nonetheless not             infringe                that patent.            See


   id.    {"[I]f a one cubic centimeter axial region contains 10s .                                            .    .

   dislocations below the surface, it cannot satisfy claim l's 104 per

   square    centimeter        limitation      [under     Cree's         preferred measurement




   that the court "expressly rejected the measurement method that Cree
   claimed was required."  Fox's Supplemental Br. in Opp. to Mot.                                              for
   Summ. J. 5.   Both parties are mistaken.   The court rejected                                               the
  proposition that it could adopt any claim construction that promotes
   or rejects a particular measurement                    technique.

                                                   8
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 9 of 29 PageID# 8950



  technique] ,        even       if    those    dislocations       are    not    detectable           on   the


  surface. ") .         The only certainty in this regard from the court' s claim


  construction             is   that    an    axial   region      with    a    dislocation           density


  throughout          its       entire    volume      that   is    within        the    l13 0       patent's


  dislocation density thresholds necessarily infringes the patent.8

          The court         specifically relies upon these findings,                          as well as


  the general reasoning underlying its claim construction,                                   in deciding


  the motion before               it.


                                        IV.     Standard of Review


           Summary judgment is appropriate when a court, viewing the record


  as a whole and in the light most favorable to the nonmoving party,


  finds that there is no genuine issue of material fact and that the


  moving party is entitled to judgment as a matter of law.                                          See Fed.


  R.     Civ.    P.   56(a);      Anderson v.         Liberty     Lobby,       Inc.,    477        U.S.    242,


  248-50        (1986).         On summary judgment,          the court is         "not       []    to weigh


  the     evidence and determine the truth of                       the matter."             Id.     at 24 9.


   Instead,       the      court      will     draw   any   permissible         inference           from    the


  underlying facts in the light most favorable to the nonmoving party.


  See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.




   8       For instance,              if the concentration of dislocations throughout
   the    volume      of    a   one     cubic   centimeter        axial   region       is    9,000,        that
   region       necessarily            could    not   have   more       than    9,000       dislocations
   intersecting            its     surface,       nor     could    it     have    more       than         9,000
  dislocations beneath its                     surface.
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 10 of 29 PageID# 8951



   574,    587-88   (1986);         Steelman v.       Hirsch,      473 F.3d 124,            127    (4th Cir.


   2007).     But       a   failure      by   the   non-moving        party      to    rebut      a    summary


   judgment       motion       with      sufficient     evidence         will     result         in    summary


   judgment       when       appropriate.           w[T]he     plain      language          of    Rule       56[]


   mandates       the       entry   of    summary     judgment,          after    adequate            time    for


   discovery and upon motion, against a party who fails to make a showing


   sufficient to establish the existence of an element essential to that


   party's case,            and on which that party will bear the burden of proof


   at   trial."         Celotex Corp.         v.    Catrett,       477   U.S.    317,       322    (1986).

                                              V.      Analysis


           Cree    seeks      summary judgment             regarding       the    v130 patent on two


   grounds:         invalidity            and      non-infringement.                  The    court          first


   addresses invalidity,                 and then,    to the extent necessary,                    the issue


   of   non-infringement.                See,   e.g.,       Optivus      Tech.,       Inc.   v.       Ion    Beam


   Applications             S.A.,   469    F.3d     978,     991    (Fed.    Cir.       2006)         ("Having


   affirmed the judgment of invalidity, we need not address the judgment


   of     non-infringement."               (citations        omitted));          TypeRight            Keyboard


   Corp. v. Microsoft Corp.,                  374 F.3d 1151,        1157    (Fed. Cir.           2004)       (n[A]


   judgment of invalidity necessarily moots the issue of infringement."


   (citations omitted)).




                                                       10
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 11 of 29 PageID# 8952



  A.    Invalidity


                                       1.     Standard for Patent Invalidity


           Under the Patent Act,                           " [a]       person shall be entitled to a patent


   unless     .     .       . before such person's invention thereof,                                        the invention

   was made in this country by another inventor who had not abandoned,


   suppressed,                   or    concealed           it."         35   U.S.C.        §   102(g)(2).          In     other


   words,     "if a patentee's invention has been made by another,                                                        prior

   inventor             who           has     not        abandoned,          suppressed,              or    concealed          the

   invention,               § 102(g)              will    invalidate the patent."                      Apotex USA,         Inc.


   v.   Merck           &    Co.,       254        F.3d    1031,         1035      (Fed.       Cir.    2001)      (citations


   omitted).                 Invalidity              under         §    102 (g) (2)    can       be    a    defense       to       an


   infringement                   suit.           See    id.


           In order to prove invalidity under § 102 (g) (2) , a defendant must


   establish prior                      invention by clear and convincing evidence.                                            Dow


   Chem.      Co.           v.    Astro-Valcour,               Inc.,         267    F.3d       1334,       1339   (Fed.    Cir.

   2001) .        "[A]            challenger .             .   . has two ways to prove that it was the

   prior inventor:                          (1)   it reduced its invention to practice first .                                 .    .


   or   (2)   it was the first party to conceive of the invention and then


   exercised                reasonable               diligence            in    reducing          that       invention             to

   practice."                    Mycogen Plant Sci. v. Monsanto Co.,                              243 F.3d 1316,           1332


    (Fed. Cir.              2001)       (citations omitted) .                      Cree asserts prior invention

   by reduction to practice.                               "In order to establish an actual reduction




                                                                        11
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 12 of 29 PageID# 8953



   to practice,        the inventor must prove that:                        (1)   he constructed an

   embodiment      .   .   .     that     met    all    the     limitations        of   the    [patent's

   claims] ; and (2) he determined that the invention would work for its

   intended purpose."                  Cooper v.       Goldfarb,      154   F.3d 1321,        1327    {Fed.


   Cir.   1998)    (citations omitted).                  "[D]etermining that the invention

   will work for its             intended purpose may require testing."                          Id.


          Once prior invention is established by clear and convincing

   evidence,      "the burden of production shifts to the patentee to produce


   evidence sufficient to create a genuine issue of material fact as

   to whether the prior inventor abandoned,                             suppressed,        or concealed

   the invention."              Dow Chem.,       267 F.3d at 1339.           If the patentee comes


   forward   with      sufficient              evidence,       "the   challenger may          rebut       the


   evidence of abandonment, suppression, or concealment, with clear and

   convincing evidence to the contrary."                          Id.    (citing Apotex, 254 F.3d

   at   1037-38).


                                          2.    Cree's       Invention


          Cree must prove that it was the prior inventor of the invention

   underlying      the         *13 0   patent.         The     v130   patent      claims    priority        to

   application No.             PCT/RU97/00005,          which was filed on January 22,                    1997


   and issued as U.S. Patent No. 6,621,363.                           Cree believes it is a prior

   inventor because              in 1995        four    Cree    engineers grew a boule               of    low

   defect    SiC material              through     seeded       sublimation        that met     the       v13 0




                                                         12
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 13 of 29 PageID# 8954



   patent's      defect     density    limitations.         From   that        boule,   Cree

   highlights wafer no. G0259-3, which contains an axial region of one

   square centimeter that meets each of the defect limitations in claims

   1    and 19   of   the   *13 0   patent.   Cree's   breakthrough was publicly

   disclosed through a presentation and paper at the 1995 International

   Conference on Silicon Carbide and Related Materials in Kyoto, Japan

   ("The 1995 International Conference" ) .            The paper was then published

   in    1996.    Citing     exhibits    submitted     in   support       of   its   Summary

   Judgment Motion,         Cree avers "four key facts" that establish prior

   invention:


           (1)   Cree scientists Dr. [C. H.] Carterf, Jr.] and Dr. [V.
                 F.] Tsvetkov actually made the G025 9-03 wafer by 1995
                 and Prof. [Michael] Dudley characterized the wafer
                 in 1995 by x-ray topography analysis.                .    .   .

           (2)   Dr. Carter and Tsvetkov recognized in 1995 that they
                 made a silicon carbide wafer with low defect density.
                 Dr. Carter publicly reported that recognition at [the
                 1995 International Conference] where he presented a
                 photo of the G0259-3 wafer. The Cree scientists also
                 published an article in 1996 with the photo of the
                 wafer.   Contemporaneous x-ray topography photos of
                 Wafer No. G0259-3 are an exact match for the photo
                 in the article.   In a section of the article . . .
                 Cree scientists identified that the wafer included
                 a region having a low "total line defect density of
                  about 1000 cm'2

           (3)    As a matter of scientific fact, the G0259-3 wafer that
                  was made by 1995 possessed a region with a one square
                  centimeter area that met all limitations of claims
                  1 and 19 of the '13 0 patent.   Prof. Dudley analyzed
                  the wafer by x-ray topography in 1995 and concluded
                  that it had low defect density.   In 2011, he reviewed


                                              13
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 14 of 29 PageID# 8955



                        the   x-ray        topography          data,     taken    in     1995,     and
                        confirmed      that    Wafer      No.    G0259-3    had     a    one    square
                        centimeter         area    with    no    micropipes,        no       secondary
                        phase       inclusions,          and     less     than    10,000         total
                        dislocations                       9

                (4)     It is also undisputed that Cree published an article
                        with a photo of           Wafer No.       G0259-03       ....


   Cree's Supplemental Br.                   in Supp. of Mot.           for Summ.       J.   15-17,    ECF No.


   423    (citations omitted) ;               see Cree's Mem.            in Supp.      of Mot.    for Summ.


   J.    iI1I     17-25,      ECF    No.    150     (listing       the    same   in      Cree's       original

   statement            of undisputed         facts).


                                       3.    Reduction to Practice


                "As an initial matter,"              Fox disputes that Carter and Tsvetkov


   made the G0259-3 wafer on the basis that Carter did not grow the SiC


   material from which it was cut and neither scientist could identify


   the material's inventor.                       See Fox's Supplemental Br. in Opp. to Mot.


   for Summ. J. 19, ECF No. 522 (citing Carter Dep. at 63, Ex. 8 to Rudiger


   Decl.,             ECF   No.    523-8).        This    objection        is    meritless.            At     his


   deposition, Carter identified himself and Tsvetkov as the inventors,


   and Tsvetkov as the scientist who grew the low-defect SiC boule.                                           Fox


   does not offer any evidence,                     nor credibly highlight any material in


   the record,              that    indicates there is a genuine issue that,                          in 1995,


   Cree         scientists          created       that    boule.         Accordingly,          there     is    no


   genuine issue that Cree is the inventor of the SiC material from which



                See    supra note      8    and accompanying            text.

                                                          14
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 15 of 29 PageID# 8956



   the   G0259-3    wafer was       cut.


          Turning     to   the     reduction       to    practice       test,    Fox    does    not


   genuinely dispute         that      the G0259-3       wafer meets      all of       the defect

   limitations in claims 1 and 19 of the                     '130 patent.10            See Fox's

   Supplemental Br.        in Opp.      to Mot.       for Summ.   J.    21     ("Whether or not


   Prof. Dudley can show, based on testing he conducted in March of 2011,


   that the G0259-3 wafer meets all three limitations of the %130 patent


   claims is irrelevant.") .                Rather, Fox seeks to defeat Cree's Summary


   Judgment       Motion      by      arguing     the     other     prong       of     the     test:


   "contemporaneous          recognition        and     appreciation      of    the    invention"


   represented by claims 1 and 19 of the '130 patent.                        Mycogen, 243 F.3d


   at    1335     {emphasis      in    original)        (internal      quotation       marks     and


   citations omitted) .            Indeed, Fox does not offer any evidence to rebut

   Dudley's       analysis    of      the    G0259-3    wafer,    let    alone       contend    that


   Dudley's conclusions are erroneous.                     Accordingly,         "the portion of

   the reduction to practice test requiring that all limitations of the



   10   In determining whether a genuine issue of material fact exists,
   "the Court may assume that facts identified by the moving party in
   its listing of material facts are admitted, unless such a fact is
   controverted in the statement of genuine issues filed in opposition
   to the motion."  E.D. Va. Loc. Civ. R. 56 (B) ; see also Fed. R. Civ.
   P.    56(e).    In Fox's first opposition brief,               it objected to Dudley's
   2011    analysis of       the G0259-3 wafer because              Fox had not yet had an
   opportunity to investigate Dudley's claims, and, thus, requested the
   opportunity       to    depose       Dudley     regarding      his     declaration.           Fox
   subsequently took Dudley's deposition,                   and did not renew or recast
   an objection to Dudley's conclusions regarding the G0259-3 wafer in
   its    supplemental       opposition brief.

                                                   15
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 16 of 29 PageID# 8957



   count be met has been satisfied."                       Id.


           Turning to the appreciation prong,                    there is no dispute that if


   Cree appreciated the          invention back in 1995,                  then Cree reduced it


   to practice before Fox did so.                   Fox first argues that Dudley's 2011


   analysis    is irrelevant to this prong because                        it     "cannot establish


   conception    and appreciation              of    the   invention by          the   alleged    Cree


   'inventors'       16 years earlier,          in 1995."          Fox's Supplemental Br.           in


   Opp.    to Mot.    for Summ.    J.    21.        Fox is correct.            "[T]he date of the


   conception of a prior inventor's invention is the date the inventor


   first appreciated the          fact    of what he made."                Dow Chem.,       267   F.3d


   at 1341 (providing that the challenger must prove that it "recognized


   and appreciated       [the]    new form," contemporaneous with its invention


   (internal    quotation marks           and       citations      omitted)).          Accordingly,


   the fact that Dudley's 2011 analysis allows Cree to appreciate in


   2011 that the G0259-3 wafer met the defect limitations in claims 1

   and 19 of the      *130 patent is irrelevant.                  Fox attacks a "straw man,"


   though,    as Cree only argues that Dudley's 2011 analysis proves the


   first prong of       the   reduction to practice                test     --    that    the G0259-3


   wafer embodies the limitations set forth in claims 1 and 19 of the


   *130    patent.      Cree     points        to    other       evidence      in   the    record   to


   establish recognition and appreciation.                         See,   e.g.,     Cree's Mem.     in

   Supp.    of Mot.    for Summ.    J.    23    (citing Dudley's declaration that he




                                                     16
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 17 of 29 PageID# 8958



  analyzed the G0259-3 wafer in 1995) ; Cree's Supplemental Br. in Supp.


  of Mot. for Summ. J.        15    (citing Carter's deposition testimony on the


   subject of his communications with Dudley regarding Dudley's                                       1995


   characterization of         the G0259-3            wafer).


          Fox next    argues       that    Cree       cannot     prove   appreciation because


   Dudley's    1995   analysis,         unlike his 2011 analysis,                 did not measure


   each of    the defect      densities that               are   claimed   in the       x130 patent,


   and it was not enough that Cree appreciated in 1995 that it invented


   a SiC material with a drastically reduced defect                             level.        In other


   words,    Fox claims that Cree could not "understand]                           [its]      creation


   to have the features that comprise the                         ['130 patent],"            Invitrogen

   Corp. v. Clontech Labs.,             Inc.,    429 F.3d 1052,          1064   (Fed.    Cir.     2005),


   because Dudley's 1995 analysis of the G0259-3 wafer did not identify


   an axial region with "a density of dislocations of less than 104 per

   square centimeter, a density of micropipes of less than 10 per square


   centimeter, and a density of secondary phase inclusions of less than


   10 per cubic centimeter."              '13 0 patent col. 8 11.7-11; see id. cols. 10


   11. 2-6.    Fox holds Cree to an unreasonably stringent standard, which


   this   court   rejects     in   light     of prevailing precedent.


          Federal Circuit law is clear that in order for "the inventor's


   understanding       [to]    reach[]          the    level      needed    for    appreciation,"


   Invitrogen,     429   F.3d      at     1064,       he   is    "not   require [d]      .    .   .   [to]




                                                      17
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 18 of 29 PageID# 8959



   establish that he recognized the invention in the same terms as those


   recited      [in    the    patent's      claims]."             Dow    Chem. ,      267   F.3d    at    1341


   (internal quotation marks                and citations omitted).                        "The invention


   is not the language of             the     [claims]          but the subject matter thereby


   defined."          Id.     (emphasis       added)          (internal        quotation          marks    and


   citations omitted) .             As this court previously recognized,                          "the clear


   and consistent            description      of       the      [*130   patent's]          invention      is   a


   method directed toward growth of low defect Sic."                                      Fox Group,      2011


   WL 2308694, at *8; see id. at *1                     ("The general growth method at issue


   here is seeded sublimation .                .   .    .") ;    see    v130 patent col.3 11.10-14


   ( [W]hat is needed in the art is a method and system that allows high


   quality      Sic    single      crystals        to    be     grown.        The    present      invention


   provides such a method and system."                       (emphasis added)) .             Accordingly,


   in order to establish the appreciation prong by clear and convincing


   evidence,      Cree does not need to offer evidence that its scientists


   were aware that an axial region in the G025 9-3 wafer specifically


   met each of the defect limitations set forth in claims                                     1 and 19 of


   the   '130    patent.        Rather,       Cree must           establish         that    its   inventors


   appreciated         the    novelty    of    the       low     defect       Si    material      they    grew


   through seeded sublimation.                     See Dow Chem.,             267    F.3d at 1341         ("It


   is    enough       that    the    [inventors]              appreciated           the    fact    of    their


   invention.").              To    accomplish           this,         Cree    must       offer    evidence




                                                        18
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 19 of 29 PageID# 8960



   regarding its         subjective belief               about      its    invention and        "evidence


   that [it] timely interpreted or evaluated the results, and understood


   them to show the existence [of] the invention."                               Invitrogen, 429 F.3d


   at   1065    (citations        omitted).


           Subjective          belief    is     evident,           as    Cree    scientists         publicly


   disclosed       their       findings       concerning           the    G0259-3    wafer     through        a


   presentation and paper at the 1995 International Conference.                                            See,


   e.g.,     Cree's Supplemental Br.                in Supp.        of Mot.      for Summ.     J.    15.     In


   the paper,      Cree discloses that it "recently had a breakthrough that


   has dramatically reduced the density of                               [micropipes],"        as well as


   that "wafers from recent 4H-SiC boules . . . have areas > 0.5 cm2 with

   a total line defect density of about 1000 cm"2."                                V. F. Tsvetkov, S.

   T.    Allen,    H.    S.    Kong & C.      H.    Carter,         Jr.,    Recent progress           in Sic


   crystal growth, Inst. Phys. Conf. Ser. No. 142,                              19, Ex. 7 to Sternhell


   Decl. ,     ECF No.    424-7    [hereinafter 1996 Cree Article] ;                      see id^ at 18


   ("Our analytical review is devoted to the seeded sublimation process


   and    all     of    the    results    reported            on    boule       growth   are   from        this


   technique.").              The evidence shows that "those inventors appreciated


   the subject matter of the claims and the utility of the subject matter


   because      its work        leading    to      its   reduction         to practice was part              of


   a research program specifically directed toward the purpose of the


   claim":        creating low defect SiC material.                         Griffin v.     Bertina,         285




                                                         19
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 20 of 29 PageID# 8961



   F. 3d 1029, 1035 (Fed. Cir. 2002) ; see 1996 Cree Article at 17 ("Recent


   results    at    Cree    Research    .   .    .   indicate      that    micropipes              will   be


   reduced to a level that makes high current devices viable,                                   and that


   they may be totally eliminated in the next                       few years.").


         Similarly,        it is obvious that Cree had "an objective basis for


   identifying the novel features of                   [its]   invention,        .    .    .   and timely


   considered      it,"     Invitrogen,     429       F.3d at     1065,    since           the evidence


   clearly and convincingly establishes                     that Cree enlisted Dudley to


   characterize the G0259-3 wafer contemporaneously with the growth of


   the SiC material         from which that wafer was cut.                  See,           e.g.,    Cree's


   Supplemental       Br.    in    Supp.    of       Mot.   for    Summ.    J.        15-17;        Cree's


   Supplemental Reply in Supp. of Mot. for Summ. J. 14, ECF No. 546.11

         In sum,     the record is clear that Cree appreciated in 1995 that


   its   newly      grown    SiC   material          met    uniquely      low        defect        density

   thresholds,      and said appreciation was based on "objective evidence

   [that]     corroborate[s]"          Cree's        public     comments        concerning            that


   quality.        Invitrogen,     42 9 F.3d at 1065.             Fox does not dispute these


   facts.     Rather,       it seeks to obfuscate the issue by poking holes in


   the methodology behind Dudley's 1995 analysis of the G0259-3 wafer.


   Fox pursues the irrelevant goal of establishing that Dudley, in 1995,


   did not specifically corroborate that an axial region in the G0259-3



   11    Indeed,      Cree's 1996 paper includes an acknowledgment thanking
   Dudley for his examination.                  1996      Cree Article     at        22.

                                                     20
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 21 of 29 PageID# 8962



   wafer met each defect               limitations         in claims    1    and 19          of   the     '13 0


   patent,    and thus         the Cree inventors could not have appreciated in


   1995 that their invention met those limitations.                              Fox can only avoid

   summary judgment by demonstrating a genuine issue of material fact,

   and, as already discussed,                it is not necessary that Cree appreciated


   in 1995 that an axial region in the G0259-3 wafer met each of the


   defect limitations in claims 1 and 19 of the                         x13 0 patent.                  For the


   above reasons,         the court FINDS            that there is no genuine issue that


   Cree reduced the            invention to practice before Fox did so.


                   4.    Abandonment,          Suppression,     or Concealment


         Cree      has         adduced        sufficient      evidence            to     clearly           and


   convincingly          establish          prior    invention,    and        so       the    court       now


   determines whether            Fox has produced evidence              sufficient                to   create


   a   genuine    issue        that    Cree    nonetheless      abandoned,             suppressed,          or


   concealed its invention.                  See Dow Chem.,     267 F.3d at 1339.                      Fox has


   two avenues of proof available for meeting its burden.                                     First,       Fox


   can produce evidence               that    Cree   "actively abandons,               suppresses,          or


   conceals      [its]    invention from the public."                  Id.       at 1342      (citations


   omitted).            "Intentional          suppression       occurs           when    an        inventor


   'designedly,          and    with    the    view    of   applying        it    indefinitely             and


   exclusively      for        his    own   profit    withholds   his        invention            from     the


   public.'"       Flex-Rest,          LLC v.    Steelcase,     Inc.,        455   F.3d 1351,             1358




                                                      21
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 22 of 29 PageID# 8963



   (Fed. Cir. 2006)             (citations omitted) .           Fox does not offer evidence,

   let alone contend that Cree "intentionally delayed                                    [disclosure]            in

   order to prolong the period during which the invention is maintained


   in secret."         Fujikawa v.         Wattanasin,     93 F.3d 1559,                 1567         (Fed.   Cir.


   1996) .     Rather,         Fox seeks to meet its burden on the second type of


   proof:       "when          abandonment,     suppression,                or   concealment             may    be


   inferred based upon the prior inventor' s unreasonable delay in making


   the     invention       publicly        known."        Dow       Chem.,        267        F.3d       at    1342


   (citations        omitted);      see,     e.g.,   Fox's      Supplemental Br.                      in Opp.    to


   Mot. for Summ. J. 19.            ("Fox genuinely disputes whether Cree disclosed


   [the invention]             to the public in sufficient detail                   .    .   .   ."    (emphasis


   added)) .


           The patentee's burden of production for the second type can be


   low, as " [t]he failure to file a patent application,                                ... to describe


   the invention in a published document,                       .   .   .   or to use the invention


   publicly,     .     .   .    within   a   reasonable      time           after   first         making        the


   invention may constitute abandonment,                   suppression, or concealment."


   Dow Chem.,        267   F.3d at 1342       (citations omitted) .                     However,         in this


   case,     there is no dispute that Cree promptly and publicly disclosed


   its findings concerning the low defect properties of the SiC material


   from which the G0259-3 wafer was cut through a presentation at the


   1995 International Conference and a published paper on the subject.




                                                     22
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 23 of 29 PageID# 8964



   Fox claims that the evidence nonetheless                              shows   there is a genuine

   issue that Cree suppressed or concealed its invention because "Cree

   did   not      publish       any     documents          or    presentations        disclosing          the

   densities claimed in the                  *13 0 patent or how to make the invention."

   Fox's    Supplemental          Br.      in Opp.    to Mot.       for Sumtn.      J.   24.        Fox once


   again holds Cree to an unreasonably stringent standard,                                     which this

   court rejects          in light of         applicable          law.


           Fox inexplicably,               and incorrectly,          frames      its suppression or

   concealment          proof    under       the     law    of    invalidity        by   anticipation,


   pursuant to 35 U.S.C. § 102 (b) ,12                     See Fox's Supplemental Br. in Opp.

   to Mot.       for Summ.      J.    25   ("Because the 1995             Tsvetkov Paper does not


   disclose each and every element of the                         x13 0 patent claims,          it is not


   an anticipatory reference.") ;                  see also Fox's Mem.             in Opp.     to Mot for


   Summ.    J.    26,    ECF No.       181    ("Anticipation             requires    that      all   of   the


   elements of the invention be found in a single prior art reference." ) .


   Indeed,       every case       that Fox cites            in purported support               of    finding


   a genuine issue of suppression or concealment concerns the standards


   for finding that a prior art reference                          invalidates a patent on the




   12      "[I]nvalidity by anticipation requires that the four corners
   of a single, prior art document describe every element of the claimed
   invention,       either expressly or                inherently,          such    that    a person of
   ordinary skill in the art could practice the invention without undue
   experimentation."              Advanced Display Sys.,                 Inc. v.    Kent State Univ. ,
   212   F.3d     1272,    1282      (Fed.    Cir.    2000).



                                                       23
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 24 of 29 PageID# 8965



   grounds    of    anticipation.         Anticipation           is    wholly        inapposite,


   though,   as Cree seeks to invalidate the              '130 patent on the separate


   ground    of    prior   invention,     pursuant      to      35    U.S.C.     §    102(g)(2).


   Accordingly,      Fox's   attempt    to meet     its    burden under          the    §   102(b)


   anticipation framework is unavailing.13

           Fox also contends that Cree "delayed 9 years, until 2004, before


   putting the invention into the hands of the public," by using it in


   Cree's    commercial products,         this    delay    is    unreasonable,          and   thus


   there is an inference of abandonment,               suppression,           or concealment.


   Fox's Supplemental Br.        in Opp.    to Mot.       for Summ.      J.    27.     The court


   cannot    draw   this    inference    from    the   underlying        facts,        even   when


   viewed in the light most favorable to Fox, because there is no genuine


   issue    that    Cree   contemporaneously        disclosed         its     invention       in   a


   presentation and paper at the 1995 International Conference, and that


   said    paper    was    subsequently    published.            In    other    words,        Fox's


   argument proceeds on a flawed premise.                  There       is no genuine          issue


   that Cree did not delay in           "bringing knowledge of              the invention to


   the public," Dow Chem.,        267 F.3d at 1342,          and so it is of no moment



   13      Moreover, the court already rejected the proposition that Cree
   had to appreciate in 1995 that its             invention specifically met each
   of the defect limitations in claims 1 and 19 of the                         '130 patent in
   order for Cree to reduce its invention to practice.                        See supra 17-19.
   Accordingly, it would be anomalous for the court to accept that Cree' s
   published paper could nonetheless fail to disclose sufficiently the
   invention under the        same unfounded standard.



                                             24
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 25 of 29 PageID# 8966



   that     Cree    did    not    market      its      public     invention       in    its     commercial


   products for nine years.14

            The only other argument Fox offers is that there is an inference


   that Cree abandoned,              suppressed,        or concealed the invention because


   Cree contests Fox's infringement claim; in other words, because Cree,


   effectively,           argues       that    the      quality     of    its     SiC    material          has


   decreased since disclosing the invention in 1995.1S                                  At a threshold

   level,     the court notes that Fox cites no authority to support such


   an inference,          nor is the court aware of any.                    Fox bears the burden


   "to produce evidence sufficient to create a genuine issue of material


   fact     as    to    whether     the    prior       inventor     abandoned,          suppressed,         or


   concealed        the    invention,"         Dow     Chem.,     267     F.3d    at    133 9    (emphasis


   added) ,      and "' [a] rgument is not evidence upon which to base a denial


   of summary j udgment.' "                Glaverbel Societe Anonyme v. Northlake Mktg.


   &    Supply,        Inc.,   45    F.3d     1550,     1562      (Fed.    Cir.    1995)        (citations


   omitted).           Fox cannot meet         its burden by merely pointing out                         that


   Cree     contests       its      infringement         claim.      Cf.    id.        ("There      must    be



   14       Fox    does    not      cite    any     cases    in    support       of    such     a   blanket
   commercialization requirement,                      nor is the court aware of any.                      The
   standard        is    public     disclosure.           Commercialization              is     merely     one
   route an inventor can employ to publicly disclose an invention.                                       See,
   e.g. ,    Flex-Rest,          455    F.3d      at    1359-60     (addressing          disclosure         by
   commercializing and disclosure by filing a patent application).

   15       Fox originally argued this in opposition, but did not renew or
   recast        the argument        in its    supplemental opposition brief.



                                                        25
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 26 of 29 PageID# 8967



   sufficient substance, other than attorney argument, to show that the


   issue    requires       trial.").         Furthermore,             Fox    does    not    adduce       any

   evidence that Cree abandoned, suppressed, or concealed the invention


   since it was first publicly disclosed.                         In fact,      the only evidence

   Fox has come forward with in opposing Cree's Summary Judgment Motion


   purportedly       demonstrates         that      Cree       products       satisfy       the       defect


   limitations in claims 1 and 19 of the '130 patent, thereby supporting


   an   inference     that    Cree    did not       abandon the             invention.          See    Fox's


   Supplemental Br.          in Opp.      to Mot.     for Summ.         J.    14-18.


           In sum,   the record is           clear that Cree publicly disclosed its


   invention       "within     a     reasonable           time        after    first       making        the


   invention,"       Dow    Chem.,     267    F.3d       at    1342,    and    that       Fox   does     not


   genuinely dispute          this    fact.        Moreover,          Fox has       not   produced any


   evidence that allows the court to infer Cree nonetheless abandoned,


   suppressed,       or    concealed      the      invention.           Rather,      Fox    once       again


   seeks    to   obfuscate      the    issue       with       incongruous        legal      arguments.


   Accordingly,      Fox cannot make a showing sufficient to establish the


   existence of an element essential to its case, and on which it would


   bear the burden of proof at trial.                     For the above reasons,                the court


   FINDS    that     there     is    no      genuine          issue    regarding          abandonment,


   suppression,      or concealment           --    Cree did not            abandon,      suppress,       or


   conceal    its prior invention.




                                                    26
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 27 of 29 PageID# 8968



                                              5.     Summary


            Because there is no genuine issue of material fact,                                and Cree

   has produced clear and convincing evidence that it made the low defect

   SiC invention prior to Fox,                and Fox has not produced any evidence

   that     Cree abandoned,          suppressed,          or concealed the            invention,       the

   court FINDS that claims 1 and 19 of the *13O patent are invalid under

   35      U.S.C.     §    102{g){2).         See      Dow     Chem. ,     267        F.3d    at   1344.


   Accordingly,           Cree is entitled to judgment as a matter of law on its

   counterclaim seeking a declaration that the '130 patent is invalid.

   B.   Non-Infringement


            "Invalidity       is a complete defense to               infringement and              .   .    .

   resolves     all       issues   that    are     meaningful      in     [a]    case."       Lough v.


   Brunswick Corp.,          86 F.3d 1113,         1123   (Fed. Cir. 1996)            (remarking that

   "[n]o      further       public    interest         is    served      by      []    resolving           an

   infringement           question    after      a   determination         that       the    patent        is

   invalid").         The asserted claims of the               v130 patent are invalid, and

   so "even if      [Cree] did infringe,             ... no judgment of liability could


   be entered."           Sandt Tech.,     Ltd. v. Resco Metal & Plastics Corp.,                       264


   F.3d 1344, 1356 (Fed. Cir. 2001)                  (citing B.F. GoodrichCo. v. Aircraft


   Braking      Sys.,       Corp.,    72    F.3d       1577,     1583      (Fed.       Cir.    1996)).

   Accordingly, the court DISMISSES Fox's claim for infringement of the

   '13 0    patent,       DISMISSES   Cree's         counterclaim        seeking       a   declaration




                                                     27
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 28 of 29 PageID# 8969



   that Cree does not infringe the '130 patent, and DENIES Cree's Summary

   Judgment, as MOOT,           insofar as it seeks judgment of non-infringement

   of   the   *130 patent.


                                        VI.     Conclusion


          For the above reasons, the court GRANTS Cree' s Summary Judgment

   Motion on its counterclaim seeking a declaration that the '130 patent

   is   invalid.        Accordingly,          the   court       DISMISSES      Count       II    of   the

   Complaint,        Cree's counterclaim seeking a declaration that the '13 0

   patent       is   not     infringed,       and        Cree's       counterclaim     seeking           a

   declaration        that      the   '130     patent          is    unenforceable,         as    MOOT.

   Furthermore the court DENIES Cree' s Summary Judgment Motion, as MOOT,


   insofar as it seeks judgments of non-infringement of both the                                      '130

   and '026 patents.            See Fox Group,           2011 WL 2963580,        at *3.16        As all

   of   Fox's    claims    and Cree's        counterclaims            are   either   dismissed or


   decided, any motions concerning trial issues are MOOT.                            Accordingly,


   the parties' in limine motions, Fox's Motion to Bifurcate, and Cree' s


   Motion to Close         Courtroom Proceedings are DENIED as MOOT.


         The     Clerk     is   DIRECTED       to    enter          judgment   for   Cree        on   its


   counterclaim seeking a declaration that the                          '130 patent is invalid


   in   accordance       with    this   Opinion          and   Final    Order.       The    Clerk      is



   16    The court previously entered judgment of non-infringement of
   the '026 patent for Cree and dismissed Cree's counterclaims related
   to the '026 patent.   Fox Group, 2011 WL 2963580, at *3; see supra
   4.


                                                    28
Case 2:10-cv-00314-RBS-FBS Document 563 Filed 08/08/11 Page 29 of 29 PageID# 8970



   further    DIRECTED      to   enter   judgment       dismissing      Count     II   of   the


   Complaint,      Cree's counterclaim seeking a declaration that the                       '130

   patent     is   not    infringed,     and        Cree's    counterclaim        seeking      a

   declaration that the v130 patent is unenforceable, all in accordance

   with this Opinion and Final Order.                 Finally,    the Clerk is DIRECTED

   to forward a copy of this Opinion and Final Order to counsel for the

   parties,    and to close the case on this              court's     docket.

         IT   IS   SO   ORDERED.
                                                                      /s/
                                                       Rebecca Beach Smith
                                                       United States District Judge

                                                     REBECCA BEACH       SMITH
                                                     UNITED    STATES    DISTRICT JUDGE
   Norfolk,    Virginia
   August Q ,      2011




                                               29
